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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
AMERICANS FOR PROSPERITY             )
FOUNDATION                           )
                                     )
            Plaintiff,               )
                                     )
      v.                             )    Civil Action No. 21-2021 (CJN)
                                     )
CENTERS FOR MEDICARE AND             )
MEDICAID SERVICES,                   )
                                     )
            Defendant.               )
____________________________________)

          PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION FOR
     SUMMARY JUDGMENT AND CROSS-MOTION FOR SUMMARY JUDGMENT

       Under Federal Rule of Civil Procedure 56 and Rule 7 of the Local Civil Rules of the United

States District Court for the District of Columbia, Plaintiff Americans for Prosperity Foundation

(“AFPF”) hereby opposes Defendant Centers for Medicare and Medicaid Services’ motion for

summary judgment, ECF No. 24, and respectfully cross-moves for summary judgment.

       In support of its opposition and cross-motion, AFPF relies upon the attached Memorandum

of Points and Authorities, Plaintiff’s Statement of Undisputed Material Facts, Plaintiff’s Response

to Defendant’s Statement of Material Facts Not in Genuine Dispute, and the Declaration of Ryan

P. Mulvey. A Proposed Order also is attached.


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Dated: December 13, 2022                  Respectfully submitted,

                                          /s/ Ryan P. Mulvey
                                          Ryan P. Mulvey
                                          D.C. Bar No. 1024362
                                          Eric R. Bolinder
                                          D.C. Bar No. 1028335

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